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 7                          IN THE UNITED STATES DISTRICT COURT
 8                             FOR THE DISTRICT OF ARIZONA
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10
     United States of America,                  Case No. CR18-00422-PHX-DJH
11

12
                       Plaintiff,
     vs.                                        ORDER
13

14
     Scott Spear, et al.,

15                     Defendants.
16
             THE COURT, upon review of the defendants’ Joint Motion for Leave to File
17
     Replies and to Extend Reply Deadline for Rules 29 and 33 Motions, and good cause
18
     appearing:
19
             IT IS HEREBY ORDERED allowing the defendants leave to file replies
20
     regarding their Rules 29 and 33 Motions.
21
             IT IS FURTHER ORDERED granting the defendants’ Joint Motion to Extend
22
     Reply deadline to January 16, 2024.
23

24           DATED this ______ day of December, 2023.
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27                                                The Honorable Diane J. Humetewa
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